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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                 Criminal Case No. 11-20481
             Plaintiff,
                                                 SENIOR U.S. DISTRICT JUDGE
 v.                                              ARTHUR J. TARNOW

 RAYNARD VERSATILE CROWE,

             Defendant.
                                       /

  OPINION AND ORDER GRANTING RAYNARD VERSATILE CROWE’S MOTION FOR
                     COMPASSIONATE RELEASE [332]

       On November 6, 2020, this Court granted Crowe’s Motion for an Indicative

 Ruling. (ECF No. 331). Pursuant to FED. R. CRIM. P. 37(b) and FED. R. APP. P.

 12.1(b), Crowe provided notice to the Sixth Circuit of this Court’s Order [331] and

 requested remand. (ECF No. 332, PageID.4387). On December 1, 2020, the Sixth

 Circuit granted Crowe’s request and remanded the case so that this Court could

 consider a motion for compassionate release. (ECF No. 333). Crowe filed a Motion

 for Compassionate Release the same day. (ECF No. 332). The Government

 responded on December 3, 2020. (ECF No. 334).

       The Court’s Indicative Ruling [331] predated the Sixth Circuit’s recent

 decision in United States v. Jones, No. 20-3701, 2020 WL 6817488 (6th Cir. Nov.

 20, 2020), which clarified the applicability of U.S.S.G. § 1B1.13 to defendant-filed



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 compassionate release petitions such as Crowe’s. Pursuant to Jones, it is clear that

 the Court need not have limited its consideration of “extraordinary and compelling

 circumstances” to those provided by the Sentencing Commission. It is also clear that

 the Court need not have analyzed Crowe’s dangerousness independently of the 18

 U.S.C. § 3553(a) factors. Although Jones does not change the Court’s conclusion

 that it will GRANT Crowe’s Motion [322], the Court now sets forth its analysis

 anew to avoid any confusion.1

                                          BACKGROUND

        Crowe was born in Detroit, Michigan in 1981 and was primarily raised by his

 mother and grandmother. (PSR ¶ 62). Unfortunately, Crowe’s childhood was

 plagued by instability. Crowe switched elementary schools approximately fifteen

 times, leaving him with behavioral and adjustment issues. (Id. ¶ 64). These problems

 were exacerbated by physical abuse Crowe suffered at the hands of his mother, who

 whipped him when he got into trouble, as well as mental health issues. (Id. ¶¶ 62,

 76-77). As a young child, Crowe often turned to his grandmother for support, but




 1
   The Government argues that Jones was decided incorrectly by the Sixth Circuit and that even if
 the Court follows Jones, it should find that “its analysis of § 1B1.13 is not controlling.” (ECF No.
 334, PageID.4393). As a published Sixth Circuit decision, Jones is binding on this Court.
 Moreover, the Court firmly disagrees with the Government’s position that the Jones § 1B1.13
 analysis is dicta. Even if the Government were correct, however, Crowe would still be entitled to
 release under the Court’s pre-Jones understanding of 18 U.S.C. § 3582(c)(1)(A), as set forth in the
 Court’s Indicative Ruling [331] analysis. Accordingly, the Government’s new arguments do not
 change the Court’s ultimate conclusion that compassionate release is warranted.

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 she passed away when he was eight. (Id.). By the time Crowe turned twelve, he had

 started running away from home and was selling and using drugs. (Id. ¶ 64).

       Crowe’s mother is no longer alive today; she passed away in 2005 from an

 accidental drug overdose. (Id. ¶ 63). Crowe’s father, whose addiction and

 incarceration caused him to be absent for much of Crowe’s childhood, has now been

 sober for more than a decade, and the two communicate regularly. (Id.). Crowe also

 remains close with two of his aunts, both of whom live near Detroit. (Id. ¶ 68-70).

       Crowe has spent the majority of his adult life in custody, starting with his

 placement in juvenile detention when he was fifteen. (Id. ¶ 65). Despite the serious

 nature of his current charges, his record is relatively short. In 1999, when he was

 seventeen, Crowe was sentenced to nine to thirty years for armed robbery of a Burger

 King. (Id. ¶ 53). Two years into that sentence, at age nineteen, Crowe got in a fight

 with a plastic weapon, and his sentence was extended by one to five years. (Id. ¶ 54).

 He was paroled in 2009 and eventually re-incarcerated for the instant offense. (Id. ¶

 65). Crowe’s participation in the armed robberies for which he was convicted was

 serious. Crowe planned both the May 8, 2011 bank robbery and the July 11, 2011

 pharmacy robbery. (Id. ¶¶ 12-20). This included providing weapons and a vehicle,

 casing the bank, and serving as a lookout during the pharmacy robbery. (Id.).

       Crowe is currently thirty-nine years old, incarcerated at USP Terre Haute, and

 scheduled for release on April 30, 2021. Find an Inmate, FED. BUREAU PRISONS,



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 https://www.bop.gov/mobile/find_inmate/index.jsp (BOP Register Number 49984-

 308) (last visited Dec. 3, 2020).

                                       ANALYSIS

       Section 3582(c)(1) of Title 18 of the U.S. Code, colloquially known as the

 compassionate release statue, provides, in relevant part:

       (A)    [T]he court, upon motion of the Director of the Bureau of
              Prisons, or upon motion of the defendant after the defendant has
              fully exhausted all administrative rights to appeal a failure of the
              Bureau of Prisons to bring a motion on the defendant's behalf or
              the lapse of 30 days from the receipt of such a request by the
              warden of the defendant's facility, whichever is earlier, may
              reduce the term of imprisonment (and may impose a term of
              probation or supervised release with or without conditions that
              does not exceed the unserved portion of the original term of
              imprisonment), after considering the factors set forth in section
              3553(a) to the extent that they are applicable, if it finds that—
              (i)     extraordinary and compelling reasons warrant such a
                      reduction.
              [. . .]
              and that such a reduction is consistent with applicable policy
              statements issued by the Sentencing Commission . . . .

 18 U.S.C. § 3582(c)(1).

       A. Exhaustion

       Before a petitioner moves for compassionate release under 18 U.S.C. §

 3582(c)(1)(A)(i), they must either exhaust their administrative remedies with the

 BOP or wait thirty days from when they filed a request with their warden. United

 States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020). On September 21, 2020, after

 Crowe had been appointed counsel, he submitted to his warden a request for

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 compassionate release or home confinement. (ECF No. 315-8, PageID.4071). The

 Government concedes that Crowe has now exhausted his administrative remedies

 with respect to the two medical conditions he raised in that request: latent

 tuberculosis and hyperlipidemia. (ECF No. 328, PageID.4321). Accordingly, the

 Court must now proceed through a three-step inquiry:

       At step one, a court must “find[]” whether “extraordinary and
       compelling reasons warrant” a sentence reduction. 18 U.S.C. §
       3582(c)(1)(A)(i). At step two, a court must “find[]” whether “such a
       reduction is consistent with applicable policy statements issued by the
       Sentencing Commission.” Id. § 3582(c)(1)(A) (emphasis added). At
       step three, “§ 3582(c)[(1)(A)] instructs a court to consider any
       applicable § 3553(a) factors and determine whether, in its discretion,
       the reduction authorized by [steps one and two] is warranted in whole
       or in part under the particular circumstances of the case.” [Dillon v.
       United States, 560 U.S. 817, 827 (2010).]

 Jones, 2020 WL 6817488, at *6 (first four alterations in original) (footnotes

 omitted).

       B. Extraordinary and Compelling Reasons for Release

       “[D]istrict courts have full discretion . . . to determine whether an

 ‘extraordinary and compelling’ reason justifies compassionate release when an

 imprisoned person files a § 3582(c)(1)(A) motion.” Id. at *7. Here, the Court finds

 that the risk posed to Crowe from his medical conditions and the spread of COVID-

 19 at USP Terre Haute constitutes such a reason.

       Crowe suffers from latent tuberculosis, a history of hyperlipidemia, and

 obesity. (ECF No. 314, PageID.3906-07; ECF No. 329, PageID.4345-46). As a

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 preliminary matter, the Government’s issue-exhaustion argument—that the Court

 can consider latent tuberculosis and hyperlipidemia but cannot consider obesity,

 which was not raised in Crowe’s administrative request—makes no difference to the

 Court’s analysis. Several courts, including this one, have recognized latent

 tuberculosis as a condition that is alone sufficient to constitute extraordinary and

 compelling circumstances when coupled with the heightened risk of catching

 COVID-19 in prison settings. See, e.g., United States v. Watkins, No. 15-20333,

 2020 U.S. Dist. LEXIS 124937, at *5, 10 (E.D. Mich. July 16, 2020) (granting

 release despite the fact that the defendant had received treatment); United States v.

 Greene, No. 15-20709, 2020 U.S. Dist. LEXIS 142007, at *7-8 (E.D. Mich. Aug.

 10, 2020) (considering and rejecting the Government’s argument that the CDC

 guidelines do not include latent tuberculosis and collecting cases). Thus, while

 Crowe’s alternative arguments would have bolstered the Court’s conclusion that

 extraordinary and compelling circumstances are present, they are hardly necessary.

       Like COVID-19, tuberculosis (“TB”) typically affects the lungs and is

 transmitted through airborne droplets. NAT’L CTR.          FOR   HIV/AIDS, VIRAL

 HEPATITIS, STD, & TB PREVENTION, TB ELIMINATION: THE DIFFERENCE BETWEEN

 LATENT       TB       INFECTION       AND       TB      DISEASE       1      (2011),

 https://www.cdc.gov/tb/publications/factsheets/general/LTBIandActiveTB.pdf

 [https://perma.cc/T2A8-JAWV]. A person who has latent TB has been infected by



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 the TB bacteria, Mycobacterium tuberculosis, but has not yet developed full TB. Id.

 About half of those who develop TB do so within two years of being infected. Id.

 This statistic is particularly relevant for Crowe, who was diagnosed and prescribed

 medication within the last year. (ECF No. 314, PageID.3446). Moreover, as this

 Court explained in Watkins, “[Latent TB] may be a particularly dangerous condition

 to have in a prison, given that COVID-19 also targets the lungs.” 2020 U.S. Dist.

 LEXIS 124937, at *6; see also Padma Nagappan, COVID-19 Could Activate Latent

 Tuberculosis,       SDSU         NEWSCENTER          (Sept.       22,       2020),

 https://newscenter.sdsu.edu/sdsu_newscenter/news_story.aspx?sid=78173

 [https://perma.cc/S2J7-ZHZL].

       Crowe’s risk is further exacerbated by the current confirmed cases of COVID-

 19 at USP Terre Haute and the fact that his commissary job requires him to interact

 with more people than most inmates. (ECF No. 326-2, PageID.4273). At the time of

 this Court’s Indicative Ruling [331], there were three confirmed cases of COVID-

 19 at USP Terre Haute among inmates and zero confirmed cases among staff. (ECF

 No. 331, PageID.4376). And as of the time of writing, this number has risen

 exponentially.   See    COVID-19      Coronavirus,    FED.    BUREAU      PRISONS,

 https://www.bop.gov/coronavirus/ [https://perma.cc/4W8L-URWA] (last updated

 Dec. 4, 2020) (listing forty-nine active cases among inmates and three active cases

 among staff). Moreover, despite the rise in cases around the country, the BOP still



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 has not provided testing to all inmates at USP Terre Haute. Compare id. (973 inmates

 tested),      with   USP       Terre     Haute,      FED.     BUREAU       PRISONS,

 https://www.bop.gov/locations/institutions/thp/      [https://perma.cc/4G48-FYR5]

 (1,241 inmates total). This indifference appears unlikely to abate anytime soon. See

 Michael Balsamo & Michael R. Sisak, Federal Prisons to Prioritize Staff to Receive

 Virus Vaccine, AP NEWS (Nov. 23, 2020), https://apnews.com/article/coronavirus-

 pandemic-prisons-85361fcf7cda33c7b6afb5ad8d2df8a2           [https://perma.cc/3JMV-

 8LAJ] (explaining that “initial allotments of the [COVID-19] vaccine will be given

 to staff and not to inmates, even though sickened prisoners vastly outnumber

 sickened staff”). Accordingly, the Court reaches the same conclusion here that it did

 in Watkins:

        [R]egardless of whether latent TB can make a person more susceptible
        to catching COVID-19, if [Crowe] does catch it, the risks to someone
        with a co-infection of TB and COVID-19 “are readily apparent,” as
        both are respiratory diseases that affect the lungs. The Court is not
        willing to take that risk.

 2020 U.S. Dist. LEXIS 124937, at *6 (first alteration in original) (quoting United

 States v. Atwi, No. 18-20607, 2020 U.S. Dist. LEXIS 68282, at *5 (E.D. Mich. Apr.

 20, 2020)).

        C. Applicable Policy Statements

        Where, as here, an “incarcerated person[] file[s] [a] motion[] for

 compassionate release, [the district] judge[] may skip step two of the §



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 3582(c)(1)(A) inquiry and ha[s] full discretion to define ‘extraordinary and

 compelling’ without consulting the policy statement § 1B1.13.” Jones, 2020 WL

 6817488, at *9. Accordingly, the Court finds that there are extraordinary and

 compelling reasons for Crowe’s release.

       D. Section 3553(a) Factors

       The last step a district court contemplating a motion for compassionate release

 must take is to consider the applicable sentencing factors listed in 18 U.S.C. §

 3553(a). “‘[A]s long as the record as a whole demonstrates that the pertinent factors

 were taken into account by the district court[,]’ a district judge need not ‘specifically

 articulat[e]’ its analysis of every single § 3553(a) factor.” Id. at *11 (quoting United

 States v. Curry, 606 F.3d 323, 330 (6th Cir. 2010)). With that in mind, the § 3553(a)

 factors are as follows:

       (a) Factors to be considered in imposing a sentence. The court shall
           impose a sentence sufficient, but not greater than necessary, to
           comply with the purposes set forth in paragraph (2) of this
           subsection. The court, in determining the particular sentence to be
           imposed, shall consider—
           (1) the nature and circumstances of the offense and the history and
               characteristics of the defendant;
           (2) the need for the sentence imposed—
               (A) to reflect the seriousness of the offense, to promote
                     respect for the law, and to provide just punishment for
                     the offense;
               (B) to afford adequate deterrence to criminal conduct;
               (C) to protect the public from further crimes of the
                     defendant; and




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                   (D) to provide the defendant with needed educational or
                           vocational training, medical care, or other correctional
                           treatment in the most effective manner;
             (3)   the kinds of sentences available;
             (4)   the kinds of sentence and the sentencing range established
                   for—
      `            (A) the applicable category of offense committed by the
                           applicable category of defendant as set forth in the
                           guidelines—
                   [. . .]
             (5)   any pertinent policy statement—
                   [. . .]
             (6)   the need to avoid unwarranted sentence disparities among
                   defendants with similar records who have been found guilty of
                   similar conduct; and
             (7)   the need to provide restitution to any victims of the offense.

 18 U.S.C. § 3553(a). The Court’s consideration of these factors is demonstrated both

 in the analysis below and on the record of the November 3, 2020 hearing.

          Crowe’s crimes were very serious, however, they were not committed in a

 vacuum. Crowe has been ensnared in the criminal legal system since the age of

 fifteen. (PSR ¶ 65). In many ways, the seriousness of the instant offenses reflects the

 fact that institutionalization from such a young age, rather than providing

 rehabilitation, often has a criminogenic effect. See, e.g., ANTHONY PETROSINO ET

 AL., FORMAL SYSTEM PROCESSING OF JUVENILES: EFFECTS ON DELINQUENCY (2010),

 http://www.njjn.org/uploads/digital-library/resource_1478.pdf

 [https://perma.cc/ZX8B-86YM]. In any case, Crowe has had nearly a decade in

 prison to reflect upon the seriousness of his crimes. His accomplishments while

 incarcerated, combined with his demeanor and testimony at the hearing, persuade

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 the Court that he has taken that opportunity seriously and that the time he has served

 has been sufficient to teach him respect for the law.

       In terms of the need to protect the public, there is little question that at the

 time the Court imposed its original sentence in 2013, Crowe posed a danger. While

 on parole for a violent conviction, Crowe had helped plan and carry out two armed

 robberies and had failed to meaningfully take responsibility for his conduct. (PSR

 ¶¶ 12, 14, 20, 23, 29, 42, 53-54). Today, however, Crowe appears in many ways to

 be a success story for the BOP. At his hearing on November 3, 2020, Crowe

 persuasively testified as to the extent of his rehabilitation over the last several years.

 In particular, Crowe’s demeanor as he spoke about overcoming his criminal patterns

 of thinking through the eighteen-month Life Connections Program gives the Court

 confidence that he has been deterred from future criminal activity.

       Although this was not Crowe’s first conviction, the Court is mindful that, with

 the exception of the instant offense, the entirety of Crowe’s criminal history stems

 from convictions he received as a teenager. (PSR ¶¶ 53-54). Given the well-accepted

 differences between juvenile and adult brains, the Court does not find these prior

 bad acts to be a reliable barometer of Crowe’s danger moving forward. See, e.g.,

 Graham v. Florida, 560 U.S. 48, 68 (2010) (“[D]evelopments in psychology and

 brain science continue to show fundamental differences between juvenile and adult

 minds. . . . Juveniles are more capable of change than are adults, and their actions



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 are less likely to be evidence of ‘irretrievably depraved character’ than are the

 actions of adults.” (quoting Roper v. Simmons, 543 U.S. 551, 570 (2005))).

       The Court reaches a similar conclusion with respect to Crowe’s PATTERN

 score. Although the BOP has rated Crowe a “high risk” of recidivism, “this

 assessment is hardly infallible.” United States v. Rodgers, No. 11-20481, 2020 U.S.

 Dist. LEXIS 203475, at *9 (E.D. Mich. Nov. 2, 2020). As this Court has previously

 noted, the “use of PATTERN [in the context of COVID-19 release decisions] is

 likely to contribute to significant unjustified racial disparities.” Id. (quoting P’SHIP

 ON AI, ALGORITHMIC RISK ASSESSMENT           AND   COVID-19: WHY PATTERN SHOULD

 NOT      BE       USED       1     (2020),        https://www.partnershiponai.org/wp-

 content/uploads/2020/04/Why-PATTERN-Should-Not-Be-Used.pdf

 [https://perma.cc/2LNP-QXM9]). The Government argues against this conclusion,

 noting that the BOP “modified PATTERN [following a public commentary period]

 to ensure its fairness and accuracy.” (ECF No. 328, PageID.4333). But the report it

 cites on the revised PATTERN tool “provides no insight into whether the changes

 served to decrease disparities.” P’SHIP ON AI at 3. Indeed, the PATTERN tool “has

 yet to be independently validated, as required by the First Step Act.” Letter from

 Jerrold Nadler, Chairman, House Judiciary Comm. & Karen Bass, Chair, Subcomm.

 on Crime, Terrorism, and Homeland Sec., to William P. Barr, Att’y Gen., U.S. Dep’t

 of                Just.                (Mar.                 30,                 2020),



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 https://judiciary.house.gov/uploadedfiles/3.30.20_letter_to_ag_barr_re_covid19.pd

 f [https://perma.cc/B7EU-94LB]; accord Brandon L. Garrett & Megan Stevenson,

 Open Risk Assessment, 38 BEHAV. SCIS. & L. 279, 280 (2020). Finally, the use of the

 PATTERN tool appears to be particularly problematic for men of Crowe’s age. See

 P’SHIP ON AI at 4 (“Age and criminal history are the most heavily weighed factors

 in PATTERN score calculation. . . . If a male inmate also has past convictions, he

 would be unlikely to receive a minimum risk classification [under the revised version

 of PATTERN] unless he is over the age of 40.”). Accordingly, the Court declines to

 find Crowe dangerous on account of his PATTERN score.

       Lastly, while Crowe has had three disciplinary incidents over the last nine

 years, he has been free of discipline for more than two years. (ECF No. 326-8,

 PageID.4284). Moreover, Crowe’s many accomplishments in prison far outweigh

 his limited disciplinary record. In addition to Life Connections, the 935-hour

 residential program that focuses on personal accountability, conflict management,

 addiction, and morality over the course of eighteen months, Crowe has completed

 the Drug Education Course, a number of vocational classes, and has been assigned

 to work in commissary, a position requiring a significant level of trust. See (ECF No.

 326-2, PageID.4273-74; ECF No. 326-4, PageID.4277; ECF No. 326-5,

 PageID.4278); MARY M. MITCHELL, FED. BUREAU PRISONS, LIFE CONNECTIONS

 PROGRAM        3-6      (2013),       https://www.bop.gov/policy/om/002_2012.pdf



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 [https://perma.cc/83FR-KFQA]. These successes, combined with the family support

 and detailed re-entry plan Crowe testified to at the hearing, persuade the Court that

 Crowe has been adequately deterred from future criminal conduct and that additional

 incarceration is not necessary to protect the public.

       When the Court resentenced Crowe in September of 2019, it did so with the

 hope that he would participate in the Residential Drug Abuse Program (“RDAP”)

 prior to completing his sentence. (ECF No. 289, PageID.3193-94). Crowe turned out

 to be ineligible for RDAP, however, due to his crimes of conviction. Accordingly,

 the Court finds that there is little to be gained by keeping him in prison for another

 five months, particularly considering his health conditions and the absence of

 available programming. The Government argues that, in light of its pending appeal,

 it is inappropriate for the Court to rely on the fact that Crowe only has five months

 in prison remaining. But the Government’s argument fails to recognize that even if

 the Sixth Circuit were to reverse the Court’s Order [282], compassionate release

 would still be appropriate under the § 3553(a) factors in light of “the disparity

 between [Crowe’s] ‘stacked’ sentence and the one he would have received if

 sentenced after the passage of the First Step Act.” United States v. McClellan, No.

 1:92 CR 268, 2020 U.S. Dist. LEXIS 97136, at *8 (N.D. Ohio June 3, 2020); see

 United States v. Alexander, No. 1:04 CR 529, 2020 U.S. Dist. LEXIS 198264, at *10

 (N.D. Ohio Oct. 26, 2020) (“While the change in law is not retroactive, . . . a



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 sentencing disparity, along with additional factors, may justify compassionate

 release in certain cases.”).

       When Crowe appeared before the Court at his first sentencing hearing on June

 26, 2013, the Court expressed concern that he had not come close to accepting

 responsibility:

       It’s not often where I make a finding of continuing dangerousness. And
       until you see the light -- and it may happen in your second year of
       prison; it may happen in your tenth year of prison -- that you actually
       have control over these decisions and you have to make the right
       decisions, you are a danger to the community.

 (ECF No. 200, PageID.2029). Now, nearly ten years on, Crowe has undergone

 dramatic changes. He has accepted responsibility for his crimes, addressed his

 substance abuse and criminal thinking patterns, and formed a plan to become a

 productive member of society. In other words, as far as this Court can tell, he appears

 to have “see[n] the light.” (Id.). Accordingly, the Court finds that the § 3553(a)

 factors warrant a sentence reduction to time served.

                                     CONCLUSION

       IT IS ORDERED that Crowe’s Motion for Compassionate Release [332] is

 GRANTED and that his sentence is reduced to time served.

       IT IS FURTHER ORDERED that Crowe be IMMEDIATELY

 RELEASED to begin his three-year term of SUPERVISED RELEASE, as




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 outlined by the September 23, 2019 Judgment (ECF No. 288, PageID.3152),

 including the following additional Special Conditions:

       The defendant shall undergo a strict fourteen-day quarantine upon
       his release and shall fully comply with any applicable state or local
       stay-at-home orders, social distancing guidelines, or other public
       health restrictions.

       SO ORDERED.




                                       s/Arthur J. Tarnow
                                       Arthur J. Tarnow
 Dated: December 7, 2020               Senior United States District Judge




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